          Case 1-21-42997-nhl Doc 51-1 Filed 06/22/22 Entered 06/22/22 11:36:18
                                                                        INDEX NO.   509175/2019
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NYSCEF DOC. NO. 156                                               RECEIVED NYSCEF: 10/14/2021




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